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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
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  FRANCESCO PORTELOS,

                                                               Plaintiff,            NOTICE OF
                                                                                     APPLICATION FOR
                                -against-                                            COSTS SOUGHT
                                                                                     AGAINST PLAINTIFF
  LINDA HILL, PRINCIPAL OF I.S. 49, IN HER
  OFFICIAL AND INDIVIUAL CAPACITY AND                                                12 Civ. 3141 (LDH)(VMS)
  ERMINIA CLAUDIO, DISTRICT SUPERINTENDENT
  IN HER OFFICIAL AND INDIVIDUAL CAPACITY,

                                                           Defendants.



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                   PLEASE TAKE NOTICE that, upon defendant’s bill of costs, the Declaration of

  Jessica Giambrone dated April 18, 2018 and                   the exhibits annexed thereto, and all other

  pleadings and proceedings had herein, the defendants will move this Court before the Judgment

  Clerk, at the United States Courthouse for the Eastern District of New York, located at 225

  Cadman Plaza East, Brooklyn, New York at 10.00 a.m. on May 3, 2018, or as soon thereafter as

  counsel may be heard, for an order pursuant to Rule 54 of the Federal Rules of Civil Procedure

  and 28 U.S.C. § 1921 granting fees and costs sought by defendants and granting such relief as to

  this Court deems proper.
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  Date: New York, New York
        April 18, 2018
                                         ZACHARY W. CARTER
                                         Corporation Counsel of the City of New York
                                         Attorney for the Defendants
                                         100 Church Street, Room 2-172
                                         New York, New York 10007
                                         212-356-2460


                                         By: /s Jessica Giambrone
                                              Jessica Giambrone
                                              Assistant Corporation Counsel



        To.   Glass Krakoer, LLP (via ECF)
              Bryan D. Glass, Esq
              Attorney for Plaintiff
              100 Church Street, 8th Floor
              New York, New York 10007
